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OAO ___           Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                       NORTHERN                                   District of                    NEW YORK
                                                                      ORDER REGARDING MOTION FOR
            UNITED STATES OF AMERICA                                  SENTENCE REDUCTION PURSUANT TO 18
                                                                      U.S.C. § 3582(c)(2) AND APPOINTMENT OF
                                                                      COUNSEL
                              vs.
                                                                      Case
                                                                      Number:            5:03-CR-0243-004
                     KARO BROWN                                       USM
                                                                      Number:            15330-014
Date of Previous Judgment:          February 16, 2005                 Simon Moody, Esq.
(Use Date of Last Amended Judgment if Applicable)                     Defendant’s Attorney



Upon motion of : the defendant G the Director of the Bureau of Prisons G the court under 18 U.S.C. § 3582(c)(2) for a
reduction in the term of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and
made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such
motion,

IT IS ORDERED that the motion (Dkt. No. 824) is:
       : DENIED.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level: 42            Amended Offense Level:
Criminal History Category: V          Criminal History Category:
Previous Guideline Range: 360 to Life Amended Guideline Range:

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
G The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
guideline range.
G Other (explain):__________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

III. ADDITIONAL COMMENTS

The defendant’s guideline range will not change from 360 to Life as it was based on the greater of the murder
guidelines and the crack guidelines.


IT IS SO ORDERED.

December 22, 2008
Order Date


Effective Date (if different from order date)
